
PER CURIAM.
No recording of the trial in this case is available because of a malfunction in the recording equipment. The trial court has entered an order finding that the parties are unable to agree on the events at trial and certifies that the record cannot be reconstructed. Appellant moves to vacate his conviction. The state concedes that remand for a new trial is the appropriate remedy.
The granting of a new trial is the proper remedy when an adequate record cannot be prepared. Delap v. State, 350 So.2d 462 (Fla.1977). This principle has been deemed applicable to juvenile cases. M.R.G. v. State, 576 So.2d 1378 (Fla. 2d DCA 1991). Accordingly, we REVERSE and REMAND for a new trial.
ERVIN, BOOTH and WEBSTER, JJ., concur.
